 12-12020-mg          Doc 3182-4 Filed 03/14/13 Entered 03/14/13 15:06:49                       Exhibit C -
                         Certification of Ronald J. Friedman Pg 1 of 3



SILVERMANACAMPORA LLP
100 Jericho Quadrangle, Suite 300
Jericho, New York 11753
(516) 479-6300
Ronald J. Friedman
Justin S. Krell

Special Counsel for the
Official Committee of Unsecured Creditors
of Residential Capital, LLC, et al.


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
In re:                                                                 Chapter 11
                                                                       Case No. 12-12020 (MG)
RESIDENTIAL CAPITAL, LLC a/k/a
RESIDENTIAL CAPITAL CORPORATION, et al.                                (Jointly Administered)

                                             Debtors.
-------------------------------------------------------------------x
           CERTIFICATION UNDER GUIDELINES FOR FEES AND
  DISBURSEMENTS IN CONNECTION WITH FIRST INTERIM APPLICATION
         OF SILVERMANACAMPORA LLP, SPECIAL COUNSEL TO
    OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR INTERIM
     ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
   RENDERED AND FOR REIMBURSEMENT OF ACTUAL AND NECESSARY
EXPENSES INCURRED FROM OCTOBER 25, 2012 THROUGH DECEMBER 31, 2012
        Ronald J. Friedman, a member of the firm of SilvermanAcampora LLP (“Applicant”),
hereby submits this certification in compliance with the United States Trustee Guidelines for
Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11
U.S.C. §330, adopted on January 30, 1996 (the “UST Guidelines”), Administrative Order M-
447, dated January 29, 2013 Re: Amended Guidelines for Fees and Disbursements for
Professionals in Southern District of New York Bankruptcy Cases (the “Administrative
Order”), and the Order Establishing Procedures for Interim Compensation and Reimbursement
of Expenses of Professionals [Docket No. 797] entered in these Chapter 11 Cases (the “Interim
Compensation Order” and, collectively with the Administrative Order and the UST Guidelines,
the “Guidelines”).



                                                                                     BPOWERS/1279769.1/062429
12-12020-mg        Doc 3182-4 Filed 03/14/13 Entered 03/14/13 15:06:49               Exhibit C -
                      Certification of Ronald J. Friedman Pg 2 of 3



       1.      Applicant has served, and continues to serve, as special counsel to the Official
Committee of Unsecured Creditors (the “Committee”) of the above-captioned debtors and
debtors in possession (the “Debtors”).
       2.      On behalf of Applicant, I submit that I have read Applicant’s First Application for
the Interim Allowance of Compensation and Reimbursement of Expenses dated March 11, 2013
(the "Application") and to the best of my knowledge, information and belief, formed after
reasonable inquiry, the Application is in compliance with the mandatory guidelines set forth in
the Administrative Order. Moreover, to the best of my knowledge, information and belief,
formed after reasonable inquiry, the fees and disbursements sought within the Application fall
within the requirements set forth in the Guidelines.
       3.      Additionally, this Certification is submitted pursuant to Rule 2016(a) of the
Federal Rules of Bankruptcy Procedure in support of the Application.
       4.      All services for which Applicant seeks compensation are professional and para-
professional services performed for and on behalf of the Committee and not on behalf of any
other person or entity.
       5.      The Committee, the Debtors, and the United States Trustee have been provided a
copy of the Application including all exhibits to the Application.
       6.      In accordance with 18 U.S.C. §155, neither I nor any partner, associate or counsel
of Applicant has entered into any agreement, express or implied, with any other party in interest
for the purpose of fixing the amount of any of the fees or other compensation to be allowed out
of or paid from the Debtors’ estate.
       7.      In accordance with section 504 of Title 11, United States Code (the “Bankruptcy
Code”), no agreement or understanding exists between me, Applicant, or any partner, associate
or counsel thereof, on the one hand, and any other person or entity, on the other hand, for the
division of the compensation the Applicant may receive or has received for services rendered in
connection with this case, nor will any division of fees prohibited by Bankruptcy Code §504 be
made by me or any partner, associate or counsel of Applicant.

                                                 2                        BPOWERS/1279769.1/062429
12-12020-mg       Doc 3182-4 Filed 03/14/13 Entered 03/14/13 15:06:49                 Exhibit C -
                     Certification of Ronald J. Friedman Pg 3 of 3



       8.     The fees and disbursements sought in the Application are billed at the rates in
accordance with the practice customarily employed by Applicant and generally accepted by
Applicant's clients in bankruptcy and non-bankruptcy matters.
       9.     I further certify that Applicant does not make a profit on its reimbursable services.
Applicant, in seeking reimbursement for a service justifiably purchased or contracted for,
requests reimbursement only for the amount billed and paid by Applicant.
       10.    With respect to section B.2 of the Local Guidelines and as required by the Interim
Compensation Order, I certify that Applicant has substantially complied with the provision
requiring it to provide the appropriate notice parties with a statement of Applicant’s fees and
disbursements accrued each month.
       11.    A copy of the Application has been provided to the Debtors, the United States
Trustee for the Southern District of New York and the Committee.

Dated: Jericho, New York
       March 11, 2013                               SILVERMANACAMPORA LLP


                                            By:     __s/ Ronald J. Friedman____________
                                                    Ronald J. Friedman
                                                    Member of the Firm
                                                    100 Jericho Quadrangle, Suite 300
                                                    Jericho, New York 11753
                                                    (516) 479-6300
                                                    RFriedman@SilvermanAcampora.com


                                                    Special Counsel for the Official Committee
                                                    of Unsecured Creditors of
                                                    Residential Capital, LLC, et al




                                                3                          BPOWERS/1279769.1/062429
